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                                                                              CLERK SOFFICE tJ.S.DIST.C'OURT
                                                                                     AT ROANOKE.VA
                                                                                          FILED
                          IN TH E UN ITED STATES DISTRICT C OU RT
                         FOR TH E W ESTERN DISTRICT O F V IRG IN IA                   SEF 2s 2215
                                 /M Q l5l#$4* DIVISION                           JUL      D LEX CL
                                                                                BY;
 UN ITED STA TES O F A M ERICA
                                                      Case N o,5:07CR00063-018

                                                      M EM O M ND U M O PIN IO N

 JO SE LU IS JAIM E PEREZ,                            By:H on.Glen E.Conrad
                                                      ChiefU nited States DistrictJudge
          D efendant.


        Thiscase is presently before the courton the defendant'sm otion forreduction in sentence

 under18U.S.C.j3582/)42)andAmendment782totheUnitedStatesSentencingGuidelines. For
 the follow ing reasons,the m otion m ustbe denied.

        Thedefendant,JoseLuisJaimePerez,wasconvicted,followingajurytrial,ofconspiracyto
 m anufacture,distribute,and possessw ith intentto distributem ore than five kilogram sofcocaine,in

 violationof21U.S.C.j846. Thecourtinitially sentencedthedefendanttoaterm ofimprisonment
 of262 m onths. The defendantappealed his sentence to the United StatesCourtofA ppeals forthe

 Fourth Circuit. On N ovem ber2,201l,the Fourth Circuitreversed the defendant'ssentence because

 thecourtfailedtomakethenecessaryfindingstosupportatwo-levelobstructionofjustice
 enhancem ent,and rem anded the case forresentencing. On rem and,thc courtreassessed the

 obstructionofjusticeenhancementthatithadpreviouslyimposed. Thecourtdeterminedthatthe
 defendanthad a totaloffense levelof38 and a crim inalhistory category of l1,w hich resulted in a

 guideline range ofim prisonm entof262 to 327 m onths. The courtvaried downward from the

 advisory guideline range and imposed a 168-m onth term ofim prisonm ent.

        Pursuantto its statutory authoritysthe United StatesSentencing Com m ission has am ended

 theDrugQuantityTablein j2D1.1oftheSentencingGuidelines,whichprovidesthebaseoffense
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levelsformostfederalcontrolledsubstanceoffenses(Amendment782). TheSentencing
Com m ission hasfurtherdecided that,effective N ovem ber 1,2015,the am ended guidelineprovisions

w illapply retroactively to defendantsw ho w ere sentenced underpriorversions ofthe guidelinesand
w ho are stillincarcerated, The practicaleffectofthe Sentencing Com m ission's actions isthat

certain federaldefendantsconvicted ofoffensesinvolving controlled substancesm ay be eligible fora

reduction intheircurrentsentences,pursuantto 18U.S.C.j3582(c)(2).
       Underj3582(c)(2),adefendantiseligibleforasentencereductionif:(1)thedefendanttdhas
been sentenced to aterm ofimprisonmentbased on a sentencingrangethathassubsequently been

loweredbytheSentencingCommission'';and(2)suchreductionisCiconsistentwithapplicablepolicy
statementsissuedbytheSentencingCommission.'' 18U.S.C.j3582(c)(2). Section 3582(c)(2)
tirequiresthecourttofollow theCommission'sinstructionsinj 1Bl.10goftheSentencing
Guidelines)todeterminetheprisoner'seligibilityforasentencemodification andtheextentofthe
reductionauthorized.'' Dillonv.United States,560U.S.817,827(2010). Section 1B1.10(b)
directsthecourttobeginttbydetermingingltheamendedguidelinerangethatwouldhavebeen
applicableto thedefendant''iftherelevantam endmenthad beenin effectatthetim ethe defendant

wassentenced. j IB 1.10(b)(1). k'lnmakingsuchdetennination,thecourtshallsubstituteonlythe
amendmentslisted insubsection (d)forthecorrespondingguidelineprovisionsthatwereapplied
w hen the defendantw as sentenced and shallleave al1otherguideline application decisions

unaffected.''

       Section IB1.10(b)alsolimitstheextentofthereductionauthorized. Itstatesthatcourts
4tshallnotreduce the defendant'sterm ofim prisonm ent...to a term thatis lessthan the m inim um of

theamendedguidelinerange....'' j1B1.10(b)(2)(A). Theonlyexceptiontothisnzleisifthecourt
previously im posed a term ofim prisonm entbelow the applicable guideline range pursuantto a
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substantialassistancemotion filedbythegovernment. j IB 1.10(b)(2)(B). Insuchcases,thecourt
mayimposeaterm thatisûicomparably''below theamendedrange. J-tls
       ln this case,the defendanthasa totaloffense levelof36 underthe am ended guidelines.

W hen com bined w ith a crim inalhistory category of1I,this resultsin an am ended guideline range of
im prisonmentof210 to 262 m onths. Thus,Am endment782 hastheeffectoflowering the

defendant'sapplicable guideline range. N onetheless,the defendantisnoteligible fora sentence

reduction,sincehe already received a tenn ofim prisonm entthatislow erthan the am ended guideline
range. Because the existing below -guideline sentence of 168 m onthsw as notthe resultofa m otion

forsubstantialassistanceby thegovernm ent,areduction from thatsentence isnotpennitted under

j1B1.10(b)(2). Seese.g,,UnitedStatesv.Pierre,No.14-15694,2015U.S.App.LEXIS9493,at*5
(11thCir.June8,2015)(kk-fhecurrentversionofsubdivision(B)gofj1B1.10(b)(2)1istheonecout'ts
m ustapply,and itprohibitsreducing a sentence below the am ended guideline range exceptwhen the

defendantwasoriginallygivenabelow-guidelinesentenceforsubstantialassistance.'');UnitedStates
v.Jones,No.1:08CR00040,2015U.S.Dist.LEXIS50409,at*3(W .D.Va.Apr.16,2015)(Jones,J.)
(çiBecausethebottom oftheamendedguidelinerangeishigherthanJones'originalsentence,
j 1B1.10(b)(2)precludesasentencereduction inthiscase.'').
       Forthese reasons,the defendant'sm otion forreduction in sentence based on Am endm ent782
mustbe denied. TheClerk isdirected to send copiesofthismem orandum opinion and the

accom panying orderto the defendantand allcounselofrecord.
       EN TER:This O $1 dayofSeptember, 2015.




                                                    ChiefU nited States D istrictJudge
